     Case 3:10-cv-01128-WWE Document 297 Filed 06/01/17 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

DONNA PARRIS                                       :
v.                                                  :    CIV. NO. 10-CV-01128 (WWE)
CHARLES PAPPAS ET AL.                              :     June 1, 2017


       STATEMENT OF NORMANDIES PARK INCOME AND EXPENSES

       The defendant, Charles Pappas, respectfully submits the attached accountings of

income and expenses relating to the Normandies Park mobile home park for the months of

April and May, 2017, pursuant to the Court’s Order of January 14, 2016 (DE #248).

                                               Respectfully submitted,

                                               THE DEFENDANT,
                                               Charles Pappas

                                               OFFICE OF THE FEDERAL DEFENDER

Dated: June 1, 2017                            /s/ James P. Maguire
                                               James P. Maguire
                                               Assistant Federal Defender
                                               265 Church Street, Suite 702
                                               New Haven, CT 06510
                                               Phone: (203) 498-4200
                                               Bar No.: ct29355
                                               Email: James_Maguire@fd.org

                               CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on June 1, 2017, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                               /s/ James P. Maguire
                                               James P. Maguire




                                               1
            Case 3:10-cv-01128-WWE Document 297 Filed 06/01/17 Page 2 of 3


Rents and expense



Normandies Mobile Home Park
April2017

Rents

Unit 1
Unit 2
Unit 4
Unit 5     April $395.
Unit 6
Unit 7
Total               $395



Expenses


Rubbish Removal      $235.09
Electric             $70.00
Phone                 $54.00
Sewer
Road maintenance
Plowing
April Balance            $3465.58

Total                $ -3429.67
            Case 3:10-cv-01128-WWE Document 297 Filed 06/01/17 Page 3 of 3


Rents and expense



Normandies Mobile Home Park
May 2017

Rents

Unit 1
Unit 2
Unit 4
Unit 5     May $395.
Unit 6
Unit 7
Total               $395



Expenses


Rubbish Removal        $234.95
Electric               $48.00
Phone                   $54.00
Sewer
Supplies                $58.05
Road maintenance
Plowing
May Balance            $3465.58

Total                $ -3465.58
